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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:06CR3023
           v.                       )
                                    )
CHARLES BOWERS,                     )
FREDRICK ROBERTSON,                 )                    ORDER
SHAWN TULL,                         )
                                    )
                Defendants.         )
                                    )



     Defendants Bowers and Tull have filed motions to continue
the trial of this matter.      Defendant Robertson’s counsel has
orally advised the court that he has no objection to a
continuance.


     IT THEREFORE HEREBY IS ORDERED,

     The unopposed motions by defendants Bowers and Tull to
continue trial, filings 24 and 23, respectively, are granted, and

     1. Trial as to all defendants is continued to 9:00 a.m.,
June 12, 2006 before the Honorable Richard G. Kopf in Courtroom
1, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. Jury selection will be held at
commencement of trial.

     2. The ends of justice will be served by granting the
motions, and outweigh the interests of the public and the
defendants in a speedy trial, and the additional time arising as
a result of the granting of the motion, the time between
April 14, 2006 and June 12, 2006 shall be deemed excludable time
in any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
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    DATED this 14th day of April, 2006.

                                   BY THE COURT:


                                   s/ David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
